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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF TEXAS

 Case number (if known):                                        Chapter you are filing under:
                                                                          Chapter 7
                                                                          Chapter 11
                                                                          Chapter 12
                                                                                                                                         Check if this is an
                                                                          Chapter 13
                                                                                                                                         amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                           12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                         About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                         Patrick                                                        Cindy
     government-issued picture
                                         First Name                                                     First Name
     identification (for example,
     your driver's license or            B.                                                             G.
     passport).                          Middle Name                                                    Middle Name

                                         Cross                                                          Cross
     Bring your picture                  Last Name                                                      Last Name
     identification to your meeting
     with the trustee.                   Suffix (Sr., Jr., II, III)                                     Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8             First Name                                                     First Name
     years
                                         Middle Name                                                    Middle Name
     Include your married or
     maiden names.
                                         Last Name                                                      Last Name


3.   Only the last 4 digits of
     your Social Security                xxx – xx –                   7        4       4      0         xxx – xx –                   7         3        3      0
     number or federal                   OR                                                             OR
     Individual Taxpayer
     Identification number               9xx – xx –                                                     9xx – xx –
     (ITIN)




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Debtor 1     Patrick B. Cross
Debtor 2     Cindy G. Cross                                                                     Case number (if known)

                                       About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                        I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in            Business name                                                Business name
     the last 8 years
                                       Business name                                                Business name
     Include trade names and
     doing business as names
                                       Business name                                                Business name

                                                    –                                                           –
                                       EIN                                                          EIN

                                                    –                                                           –
                                       EIN                                                          EIN
5.   Where you live                                                                                 If Debtor 2 lives at a different address:

                                       2107 7th St.
                                       Number       Street                                          Number      Street




                                       Port Neches                     TX       77651
                                       City                            State    ZIP Code            City                           State    ZIP Code

                                       Jefferson
                                       County                                                       County

                                       If your mailing address is different from                    If Debtor 2's mailing address is different
                                       the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                       court will send any notices to you at this                   will send any notices to you at this mailing
                                       mailing address.                                             address.



                                       Number       Street                                          Number      Street


                                       P.O. Box                                                     P.O. Box


                                       City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing              Check one:                                                   Check one:
     this district to file for
     bankruptcy                                Over the last 180 days before filing this                   Over the last 180 days before filing this
                                               petition, I have lived in this district longer              petition, I have lived in this district longer
                                               than in any other district.                                 than in any other district.

                                               I have another reason. Explain.                             I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the              Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you             for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                    Chapter 7

                                              Chapter 11

                                              Chapter 12

                                              Chapter 13



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Debtor 1     Patrick B. Cross
Debtor 2     Cindy G. Cross                                                               Case number (if known)

8.   How you will pay the fee               I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                            court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                            pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                            behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                            Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                            By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                            than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                            fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                            Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                     No
     bankruptcy within the
     last 8 years?                          Yes.

                                     District Eastern District of Texas                       When 06/18/2015         Case number 15-10311
                                                                                                     MM / DD / YYYY
                                     District                                                 When                    Case number
                                                                                                     MM / DD / YYYY

                                     District                                                 When                    Case number
                                                                                                     MM / DD / YYYY

10. Are any bankruptcy                      No
    cases pending or being
    filed by a spouse who is                Yes.
    not filing this case with
                                     Debtor                                                               Relationship to you
    you, or by a business
    partner, or by an                District                                                 When                    Case number,
    affiliate?                                                                                       MM / DD / YYYY   if known


                                     Debtor                                                               Relationship to you

                                     District                                                 When                    Case number,
                                                                                                     MM / DD / YYYY   if known

11. Do you rent your                        No.    Go to line 12.
    residence?                              Yes. Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                        and file it as part of this bankruptcy petition.




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Patrick B. Cross
Debtor 2     Cindy G. Cross                                                               Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor                No. Go to Part 4.
    of any full- or part-time                Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                   Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                  Number      Street
    a corporation, partnership, or
    LLC.

    If you have more than one                      City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                   Check the appropriate box to describe your business:
    to this petition.
                                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          None of the above

13. Are you filing under              If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                 can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business          or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                             No.   I am not filing under Chapter 11.

                                             No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                   the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                    Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                  Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                   No
    property that poses or is                Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                        If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or                 Where is the property?
    a building that needs urgent                                              Number   Street
    repairs?



                                                                              City                                    State          ZIP Code




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Debtor 1     Patrick B. Cross
Debtor 2     Cindy G. Cross                                                              Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                    Incapacity.   I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                    Disability.   My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                    Active duty. I am currently on active military              Active duty. I am currently on active military
                                                 duty in a military combat zone.                             duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     Patrick B. Cross
Debtor 2     Cindy G. Cross                                                              Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you        16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                    as "incurred by an individual primarily for a personal, family, or household purpose."
                                                   No. Go to line 16b.
                                                   Yes. Go to line 17.

                                     16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                  No. Go to line 16c.
                                                  Yes. Go to line 17.

                                     16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                              No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after              Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                            No
    are paid that funds will be
                                                       Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                   1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                   50-99                            5,001-10,000                       50,001-100,000
    owe?                                    100-199                          10,001-25,000                      More than 100,000
                                            200-999

19. How much do you                         $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to                 $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                               $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                            $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                         $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to            $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                     $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                            $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




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Debtor 1     Patrick B. Cross
Debtor 2     Cindy G. Cross                                                               Case number (if known)


 Part 7:      Sign Below
For you                              I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                     and correct.

                                     If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                     or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                     proceed under Chapter 7.

                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                     fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                     I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                     connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                     or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                     X /s/ Patrick B. Cross                                      X /s/ Cindy G. Cross
                                        Patrick B. Cross, Debtor 1                                  Cindy G. Cross, Debtor 2

                                        Executed on 08/27/2019                                      Executed on 08/27/2019
                                                    MM / DD / YYYY                                              MM / DD / YYYY




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
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Debtor 1     Patrick B. Cross
Debtor 2     Cindy G. Cross                                                              Case number (if known)

For your attorney, if you are        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                   eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                     relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by        the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need         certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                   is incorrect.



                                     X /s/ Robert W. Barron                                                Date 08/27/2019
                                        Signature of Attorney for Debtor                                        MM / DD / YYYY


                                        Robert W. Barron
                                        Printed name
                                        Barron & Carter, LLP
                                        Firm Name
                                        P.O. Box 1347
                                        Number          Street




                                        Nederland                                                  TX              77627
                                        City                                                       State           ZIP Code


                                        Contact phone (409) 727-0073                     Email address


                                        24040479                                                   TX
                                        Bar number                                                 State




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  Fill in this information to identify your case and this filing:
  Debtor 1               Patrick                     B.                      Cross
                         First Name                  Middle Name             Last Name

  Debtor 2            Cindy                          G.                      Cross
  (Spouse, if filing) First Name                     Middle Name             Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number
                                                                                                                              Check if this is an
  (if known)
                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                         What is the property?                         Do not deduct secured claims or exemptions. Put the
                                                             Check all that apply.                         amount of any secured claims on Schedule D:
Street address, if available, or other description               Single-family home                        Creditors Who Have Claims Secured by Property.
                                                                 Duplex or multi-unit building             Current value of the        Current value of the
                                                                 Condominium or cooperative                entire property?            portion you own?
2107 7th St.. Port Neches
                       TX                 77651                  Manufactured or mobile home                         $180,000.00                 $180,000.00
City                             State    ZIP Code               Land
                                                                 Investment property                       Describe the nature of your ownership
                                                                 Timeshare                                 interest (such as fee simple, tenancy by the
                                                                 Other                                     entireties, or a life estate), if known.
County
                                                                                                           Fee Simple
                                                             Who has an interest in the property?
2107 7th St.. Port Neches, TX 77651
                                                             Check one.
                                                                 Debtor 1 only                                Check if this is community property
                                                                 Debtor 2 only                                (see instructions)
                                                                 Debtor 1 and Debtor 2 only
                                                                 At least one of the debtors and another

                                                             Other information you wish to add about this item, such as local
                                                             property identification number:




Official Form 106A/B                                                       Schedule A/B: Property                                                      page 1
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Debtor 1         Patrick B. Cross
Debtor 2         Cindy G. Cross                                                                        Case number (if known)


1.2.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
1059094 42.0420 Vidor Ames Field,                        Check all that apply.                               amount of any secured claims on Schedule D:
Orange County, TX - Mineral Rights                            Single-family home                             Creditors Who Have Claims Secured by Property.
                                                              Duplex or multi-unit building                  Current value of the            Current value of the
                                                              Condominium or cooperative                     entire property?                portion you own?

County                                                        Manufactured or mobile home                                      $108.00                    $108.00
                                                              Land
                                                              Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                         Who has an interest in the property?
                                                                                                             Fee Simple
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $180,108.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       Ford                         Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                      Escape
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                       2018
                                                              Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 8,000                                    At least one of the debtors and another                   $1.00                               $1.00
Other information:
2018 Ford Escape (approx. 8,000                               Check if this is community property
miles) - Lease                                                (see instructions)
4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

4.1.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                                                    Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                      10 x 6 Trailer
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:
                                                              Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Other information:                                            At least one of the debtors and another                $200.00                              $200.00
10 x 6 Trailer
                                                              Check if this is community property
                                                              (see instructions)



Official Form 106A/B                                                   Schedule A/B: Property                                                                page 2
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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                        Case number (if known)

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................               $201.00


 Part 3:         Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                             $1,800.00


7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............


8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............


9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............
                               Clothing                                                                                                                $500.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
           No
           Yes. Describe............
                               Jewelry                                                                                                                 $200.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
           No
           Yes. Describe............
                               See continuation page(s).                                                                                                 $36.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 3
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Debtor 1          Patrick B. Cross
Debtor 2          Cindy G. Cross                                                                                                     Case number (if known)

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                    $2,536.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................               $25.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.        Savings account:                      MCT Credit Union                                                                                                                                 $5.00
             17.2.        Other financial account: Neches Federal Credit Union - Checking & Savings                                                                                                          $548.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
            No
            Yes. Give specific
            information about
            them...............................................
                                               Name of entity:                                                                                           % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific
            information about
            them...............................................
                                               Issuer name:




Official Form 106A/B                                                                       Schedule A/B: Property                                                                                                  page 4
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Debtor 1         Patrick B. Cross
Debtor 2         Cindy G. Cross                                                                          Case number (if known)

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:            Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                         Federal:
           about them, including whether
           you already filed the returns                                                                                          State:
           and the tax years.....................................
                                                                                                                                  Local:




Official Form 106A/B                                                         Schedule A/B: Property                                                          page 5
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Debtor 1         Patrick B. Cross
Debtor 2         Cindy G. Cross                                                                                      Case number (if known)

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information                                                                                            Alimony:

                                                                                                                                      Maintenance:

                                                                                                                                      Support:

                                                                                                                                      Divorce settlement:

                                                                                                                                      Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................     Company name:                                                Beneficiary:                                Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............


35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................      $578.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.




Official Form 106A/B                                                            Schedule A/B: Property                                                                          page 6
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Debtor 1         Patrick B. Cross
Debtor 2         Cindy G. Cross                                                                                      Case number (if known)

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............


44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1          Patrick B. Cross
Debtor 2          Cindy G. Cross                                                                                     Case number (if known)

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
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Debtor 1           Patrick B. Cross
Debtor 2           Cindy G. Cross                                                                                             Case number (if known)


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $180,108.00

56. Part 2: Total vehicles, line 5                                                                                       $201.00

57. Part 3: Total personal and household items, line 15                                                               $2,536.00

58. Part 4: Total financial assets, line 36                                                                              $578.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................               $3,315.00             property total                 +            $3,315.00



63. Total of all property on Schedule A/B.                                                                                                                                                  $183,423.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 9
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Debtor 1    Patrick B. Cross
Debtor 2    Cindy G. Cross                                                             Case number (if known)


6.   Household goods and furnishings (details):

     Living Room                                                                                                                $300.00

     Dining Room Suite                                                                                                          $200.00

     Bedroom Suites                                                                                                             $200.00

     2-Televisions                                                                                                              $300.00

     2-Stereos                                                                                                                  $100.00

     Washer/Dryer                                                                                                               $500.00

     Refrigerator                                                                                                               $100.00

     Stove/Oven                                                                                                                 $100.00

13. Non-farm animals (details):

     3-Dogs                                                                                                                       $1.00

     6-Chickens                                                                                                                  $35.00




Official Form 106A/B                                       Schedule A/B: Property                                                 page 10
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 Fill in this information to identify your case:
 Debtor 1              Patrick               B.                     Cross
                       First Name            Middle Name            Last Name
 Debtor 2            Cindy                   G.                     Cross
 (Spouse, if filing) First Name              Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                                        Check if this is an
 Case number                                                                                                            amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                   04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?                Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on              Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                      the portion you      exemption you claim
                                                           own
                                                           Copy the value from Check only one box for
                                                           Schedule A/B        each exemption


Brief description:                                           $180,000.00                 $55,000.00          Const. art. 16 §§ 50, 51, Texas
2107 7th St.. Port Neches, TX 77651                                                  100% of fair market     Prop. Code §§ 41.001-.002
                                                                                     value, up to any
Line from Schedule A/B:        1.1
                                                                                     applicable statutory
                                                                                     limit

Brief description:                                               $1.00                       $1.00           Tex. Prop. Code §§ 42.001(a),
2018 Ford Escape (approx. 8,000 miles) -                                             100% of fair market     42.002(a)(9)
Lease                                                                                value, up to any
Line from Schedule A/B: 3.1                                                          applicable statutory
                                                                                     limit




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                                page 1
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Debtor 1      Patrick B. Cross
Debtor 2      Cindy G. Cross                                                               Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                            $300.00                $300.00            Tex. Prop. Code §§ 42.001(a),
Living Room                                                                     100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:       6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $200.00                $200.00            Tex. Prop. Code §§ 42.001(a),
Dining Room Suite                                                               100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:       6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $200.00                $200.00            Tex. Prop. Code §§ 42.001(a),
Bedroom Suites                                                                  100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:       6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $300.00                $300.00            Tex. Prop. Code §§ 42.001(a),
2-Televisions                                                                   100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:       6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $100.00                $100.00            Tex. Prop. Code §§ 42.001(a),
2-Stereos                                                                       100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:       6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $500.00                $500.00            Tex. Prop. Code §§ 42.001(a),
Washer/Dryer                                                                    100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:       6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $100.00                $100.00            Tex. Prop. Code §§ 42.001(a),
Refrigerator                                                                    100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:       6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $100.00                $100.00            Tex. Prop. Code §§ 42.001(a),
Stove/Oven                                                                      100% of fair market     42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:       6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $500.00                $500.00            Tex. Prop. Code §§ 42.001(a),
Clothing                                                                        100% of fair market     42.002(a)(5)
                                                                                value, up to any
Line from Schedule A/B:       11
                                                                                applicable statutory
                                                                                limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                             page 2
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Debtor 1      Patrick B. Cross
Debtor 2      Cindy G. Cross                                                               Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                            $200.00                $200.00            Tex. Prop. Code §§ 42.001(a),
Jewelry                                                                         100% of fair market     42.002(a)(6)
                                                                                value, up to any
Line from Schedule A/B:       12
                                                                                applicable statutory
                                                                                limit

Brief description:                                             $1.00                   $1.00            Tex. Prop. Code §§ 42.001(a),
3-Dogs                                                                          100% of fair market     42.002(a)(11)
                                                                                value, up to any
Line from Schedule A/B:       13
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $35.00                  $35.00            Tex. Prop. Code §§ 42.001(a),
6-Chickens                                                                      100% of fair market     42.002(a)(11)
                                                                                value, up to any
Line from Schedule A/B:       13
                                                                                applicable statutory
                                                                                limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                             page 3
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  Fill in this information to identify your case:
  Debtor 1              Patrick                  B.                     Cross
                        First Name               Middle Name            Last Name

  Debtor 2            Cindy                      G.                     Cross
  (Spouse, if filing) First Name                 Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number
                                                                                                                            Check if this is an
  (if known)
                                                                                                                            amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one                  Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As               Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the              Do not deduct the      that supports this     portion
        creditor's name.                                                                      value of collateral    claim                  If any

  2.1                                                 Describe the property that
                                                      secures the claim:                             Unknown                       $0.00          Unknown
Ford Motor Credit
Creditor's name
                                                      2018 Ford Escape
P.O. Box 152271
Number       Street


                                                      As of the date you file, the claim is: Check all that apply.
                                                          Contingent
Irving                   TX      75015                    Unliquidated
City                     State   ZIP Code
                                                          Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Contract/Lease
   to a community debt
Date debt was incurred                                Last 4 digits of account number
2018 Ford Escape




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                          $0.00

Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                              page 1
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Debtor 1      Patrick B. Cross
Debtor 2      Cindy G. Cross                                                                  Case number (if known)

                  Additional Page                                                        Column A               Column B              Column C
  Part 1:                                                                                Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                         Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                         value of collateral    claim                 If any

  2.2                                            Describe the property that
                                                 secures the claim:                           $125,000.00              $180,000.00
MCTCU                                            2107 7th St.. Port Neches, TX
Creditor's name
2736 Nall St.                                    77651
Number     Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Port Neches             TX      77651                Unliquidated
City                    State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred          6/2001           Last 4 digits of account number        2     8     3    4




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $125,000.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                            $125,000.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2
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  Fill in this information to identify your case:
  Debtor 1              Patrick                 B.                    Cross
                        First Name              Middle Name           Last Name

  Debtor 2            Cindy                     G.                    Cross
  (Spouse, if filing) First Name                Middle Name           Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number
                                                                                                                         Check if this is an
  (if known)
                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim        Priority              Nonpriority
                                                                                                                         amount                amount

     2.1


Priority Creditor's Name                                      Last 4 digits of account number
                                                              When was the debt incurred?
Number       Street
                                                              As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                             Type of PRIORITY unsecured claim:
     Debtor 1 only                                               Domestic support obligations
     Debtor 2 only                                               Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                                  Claims for death or personal injury while you were
     At least one of the debtors and another                     intoxicated
     Check if this claim is for a community debt                 Other. Specify
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                   Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $1,885.00
Acadian Ambulance                                           Last 4 digits of account number         6 6        5     8
Nonpriority Creditor's Name
                                                            When was the debt incurred?           2019
130 E. Kaliste Rd.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Lafayette                       LA      70509
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                        $10,793.00
Capital One                                                 Last 4 digits of account number         7 1 9            4
Nonpriority Creditor's Name
                                                            When was the debt incurred?           2013-2015
P.O. Box 60599
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
City of Industry                CA      91716-0599
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                 Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

   4.3                                                                                                                                       $2,220.00
Chevron                                                    Last 4 digits of account number       3 7 4          8
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
P.O. Box 530950
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Atlanta                         GA      30353
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                          $83.00
Christus Health                                            Last 4 digits of account number       0 5       6    5
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2019
P.O. Box 650576
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                          TX      75265
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                         $665.00
Christus Health                                            Last 4 digits of account number       1 4       6    2
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2019
P.O. Box 650576
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                          TX      75265
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                 Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

   4.6                                                                                                                                         $749.00
Christus Health                                            Last 4 digits of account number       0 2       5    8
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2019
P.O. Box 650576
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                          TX      75265
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                         $881.00
Christus Health                                            Last 4 digits of account number       3 4       4    8
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2019
P.O. Box 650576
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                          TX      75265
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                         $113.00
Christus Health of SETX                                    Last 4 digits of account number       4 P       M    A
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2019
P.O. Box 848061
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                          TX      75284-8061
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                 Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

   4.9                                                                                                                                       $1,600.00
Christus Hospital                                          Last 4 digits of account number       9 2 3          3
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
c/o TLRA
Number        Street                                       As of the date you file, the claim is: Check all that apply.
P.O. Box 650576                                                Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                          TX      75265
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                         $480.00
Citgo                                                      Last 4 digits of account number       5 9 8          1
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
Processing Center
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Des Moines                      IA      50362
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                       $1,552.00
Citi Card                                                  Last 4 digits of account number       1 6 0          2
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
POB 6004
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
The Lakes                       NV      89163
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                 Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.12                                                                                                                                         $708.00
Dillards                                                   Last 4 digits of account number       2 6 4          6
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
P.O. Box 660553
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                          TX      75266
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                       $3,803.00
Exxon Mobil                                                Last 4 digits of account number       0 0 4          2
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
Processing Center
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Des Moines                      IA      50361
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                       $3,000.00
Gulf Credit Union                                          Last 4 digits of account number       3 5       0    7
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2011
5140 W. Parkway Hwy. 73
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Groves                          TX      77619
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Deficiency Balance
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                 Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.15                                                                                                                                       $5,000.00
Gulf Credit Union                                          Last 4 digits of account number       3 5       0    7
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2011
5140 W. Parkway Hwy. 73
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Groves                          TX      77619
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Deficiency Balance
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                     $11,633.00
Gulf Credit Union                                          Last 4 digits of account number       0 0       0    0
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2012
5140 W. Parkway Hwy. 73
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Groves                          TX      77619
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Signature Loan
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                       $1,995.00
Gulf Credit Union                                          Last 4 digits of account number       7 2 7          1
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
5140 W. Parkway Hwy. 73
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Groves                          TX      77619
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                 Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.18                                                                                                                                       $9,733.00
Home Depot                                                 Last 4 digits of account number       4 6 4          6
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
P.O. Box 78011
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Phoenix                         AZ      85062
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                       $1,236.00
Kohl's                                                     Last 4 digits of account number       1 9 4          5
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
P.O. Box 30510
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Los Angeles                     CA      90030-0510
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                     $15,000.00
Kubota Credit Corp.                                        Last 4 digits of account number       9 6       9    2
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2014
4400 Amon Carter Blvd., Ste.100
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Fort Worth                      TX      76155
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Deficiency Balance
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                 Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.21                                                                                                                                         $840.00
Liberty Medical, LLC                                       Last 4 digits of account number       6 F       D    B
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2019
8881 South US Hwy. 1
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Port Saint Lucie                FL      34952
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                                     $10,230.00
Lowe's                                                     Last 4 digits of account number       7 4 4          8
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
P.O. Box 965005
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Orlando                         FL      32896
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                       $4,517.00
MCT Credit Union                                           Last 4 digits of account number       9 0 3          5
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
P.O. Box 279
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Port Neches                     TX      77651
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             page 9
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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                 Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.24                                                                                                                                         $763.00
Pay Pal                                                    Last 4 digits of account number       9 0       6    0
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2017
P.O. Box 71202
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Charlotte                       NC      28272
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Other
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                                         $107.00
Port Arthur Emer. Physicians                               Last 4 digits of account number       0 4       4    2
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2019
P.O. Box 731584
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                          TX      75373
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                                           $0.00
Port Arthur Emer. Physicians                               Last 4 digits of account number       0    5    7    3
Nonpriority Creditor's Name
                                                           When was the debt incurred?         739
P.O. Box 731584
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                          TX      75373
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            page 10
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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                 Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.27                                                                                                                                         $740.00
Roussel Clement, MD                                        Last 4 digits of account number       6 8       9    1
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2019
6265 39th St.
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Groves                          TX      77619
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                                       $3,626.00
Sam's                                                      Last 4 digits of account number       1 3 8          2
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
P.O. Box 530942
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Atlanta                         GA      30353
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                                         $216.00
SETX Inpatient Phys. Assoc.                                Last 4 digits of account number       0 5       8    8
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2019
3318 Hwy. 365
Number        Street                                       As of the date you file, the claim is: Check all that apply.
P.O.Box 227                                                    Contingent
                                                               Unliquidated
                                                               Disputed
Nederland                       TX      77627
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            page 11
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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                 Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.30                                                                                                                                         $520.00
Shell                                                      Last 4 digits of account number       8 3 9          8
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
Processing Center
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Des Moines                      IA      50367
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                                       $1,759.00
Target                                                     Last 4 digits of account number       5 0 2          5
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
P.O. Box 660170
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                          TX      75266-0170
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                                         $603.00
The Medical Center                                         Last 4 digits of account number       4 7       9    9
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2019
P.O. Box 27434
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Salt Lake City                  UT      84127
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            page 12
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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                 Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.33                                                                                                                                       $1,072.00
The Medical Center                                         Last 4 digits of account number       4 1       1    3
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2019
P.O. Box 27434
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Salt Lake City                  UT      84127
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Medical
Is the claim subject to offset?
     No
     Yes

  4.34                                                                                                                                         $563.00
Valero                                                     Last 4 digits of account number       0 0 0          0
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2013-2015
P.O. Box 631
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Amarillo                        TX      79105
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            page 13
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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                              Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                 Total claim

Total claims       6a. Domestic support obligations                                                    6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                            6b.                     $0.00

                   6c. Claims for death or personal injury while you were intoxicated                  6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.         6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                             6d.                     $0.00




                                                                                                                 Total claim

Total claims       6f.   Student loans                                                                 6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                    6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                     6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.    6i.   +         $98,685.00


                   6j.   Total.   Add lines 6f through 6i.                                             6j.             $98,685.00




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                       page 14
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 Fill in this information to identify your case:
 Debtor 1             Patrick                 B.                   Cross
                      First Name              Middle Name          Last Name

 Debtor 2            Cindy                    G.                   Cross
 (Spouse, if filing) First Name               Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      Ford Motor Credit                                                            2018 Ford Escape
          Name                                                                         Contract to be ASSUMED
          P.O. Box 152271
          Number    Street



          Irving                                       TX        75015
          City                                         State     ZIP Code




Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                page 1
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 Fill in this information to identify your case:
 Debtor 1             Patrick                 B.                         Cross
                      First Name              Middle Name                Last Name

 Debtor 2            Cindy                    G.                         Cross
 (Spouse, if filing) First Name               Middle Name                Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                         Check if this is an
 (if known)
                                                                                                                         amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
               In which community state or territory did you live?                   Texas      Fill in the name and current address of that person.

               Cindy G. Cross
               Name of your spouse, former spouse, or legal equivalent
               2107 7th St.
               Number        Street


               Port Neches                                     TX              77651
               City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:




Official Form 106H                                              Schedule H: Your Codebtors                                                             page 1
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 Fill in this information to identify your case:
     Debtor 1              Patrick                B.                      Cross
                           First Name             Middle Name             Last Name                           Check if this is:
     Debtor 2              Cindy                  G.                      Cross                                    An amended filing
     (Spouse, if filing)   First Name             Middle Name             Last Name
                                                                                                                   A supplement showing postpetition
     United States Bankruptcy Court for the:    EASTERN DISTRICT OF TEXAS
                                                                                                                   chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                   MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                                Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status                Employed                                           Employed
      with information about                                             Not employed                                       Not employed
      additional employers.
                                        Occupation                Unemployed                                         Retired
      Include part-time, seasonal,
      or self-employed work.            Employer's name

      Occupation may include            Employer's address
      student or homemaker, if it                                 Number Street                                      Number Street
      applies.




                                                                  City                         State    Zip Code     City                     State   Zip Code

                                        How long employed there?

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1            For Debtor 2 or
                                                                                                                       non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                         $0.00                   $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                         3.   +               $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                    4.                   $0.00                   $0.00




Official Form 106I                                               Schedule I: Your Income                                                                  page 1
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Debtor 1        Patrick B. Cross
Debtor 2        Cindy G. Cross                                                                                                        Case number (if known)
                                                                                                                        For Debtor 1              For Debtor 2 or
                                                                                                                                                  non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                 $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                 $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                 $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                 $0.00
     5e. Insurance                                                                                              5e.                  $0.00                 $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                 $0.00
     5g. Union dues                                                                                             5g.                  $0.00                 $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                 $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00                 $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                 $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.                  $0.00                 $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.           $1,824.00                   $0.00
     8e. Social Security                                                                                        8e.               $0.00               $1,151.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                 $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                 $0.00
     8h. Other monthly income.
         Specify: Project Income per Year                                                                       8h. +         $1,000.00                    $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $2,824.00               $1,151.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $2,824.00 +         $1,151.00 =                                                        $3,975.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                  11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                  12.            $3,975.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                        Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                                        page 2
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 Fill in this information to identify your case:
                                                                                                          Check if this is:
     Debtor 1              Patrick                 B.                     Cross                               An amended filing
                           First Name              Middle Name            Last Name                           A supplement showing postpetition
                                                                                                              chapter 13 expenses as of the
     Debtor 2              Cindy                   G.                     Cross
     (Spouse, if filing)   First Name              Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:     EASTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                   No
                                                Yes. Fill out this information          Dependent's relationship to    Dependent's       Does dependent
      Do not list Debtor 1 and                                                          Debtor 1 or Debtor 2           age               live with you?
                                                for each dependent...................................
      Debtor 2.                                                                                                                              No
                                                                                                                                             Yes
      Do not state the dependents'
                                                                                                                                             No
      names.
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                          No
      expenses of people other than                     Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                       Your expenses

4.    The rental or home ownership expenses for your residence.                                                       4.                     $1,458.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                           4a.

      4b. Property, homeowner's, or renter's insurance                                                                4b.

      4c. Home maintenance, repair, and upkeep expenses                                                               4c.                      $50.00
      4d. Homeowner's association or condominium dues                                                                 4d.




 Official Form 106J                                              Schedule J: Your Expenses                                                         page 1
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Debtor 1      Patrick B. Cross
Debtor 2      Cindy G. Cross                                                                  Case number (if known)

                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                    6a.                    $200.00
     6b. Water, sewer, garbage collection                                                                  6b.                     $55.00
     6c. Telephone, cell phone, Internet, satellite, and                                                   6c.                    $180.00
         cable services
     6d. Other. Specify:      Cell Phone                                                                   6d.                    $193.00
7.   Food and housekeeping supplies                                                                        7.                     $400.00
8.   Childcare and children's education costs                                                              8.

9.   Clothing, laundry, and dry cleaning                                                                   9.                     $110.00
10. Personal care products and services                                                                    10.

11. Medical and dental expenses                                                                            11.                    $400.00
12. Transportation. Include gas, maintenance, bus or train                                                 12.                    $200.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.
    magazines, and books
14. Charitable contributions and religious donations                                                       14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.

     15b.   Health insurance                                                                               15b.                    $91.00
     15c.   Vehicle insurance                                                                              15c.                   $160.00
     15d.   Other insurance. Specify:                                                                      15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1      Ford Motor Credit                                              17a.                   $447.00
     17b.   Car payments for Vehicle 2                                                                     17b.

     17c.   Other. Specify:                                                                                17c.

     17d.   Other. Specify:                                                                                17d.

18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.




 Official Form 106J                                           Schedule J: Your Expenses                                              page 2
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Debtor 1      Patrick B. Cross
Debtor 2      Cindy G. Cross                                                                   Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.     +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                   $3,944.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                   $3,944.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                   $3,975.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.    –              $3,944.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                     $31.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                            Schedule J: Your Expenses                                                page 3
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 Fill in this information to identify your case:
 Debtor 1                Patrick                       B.                            Cross
                         First Name                    Middle Name                   Last Name

 Debtor 2            Cindy                             G.                            Cross
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $180,108.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                           $3,315.00
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $183,423.00
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $125,000.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $98,685.00
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $223,685.00




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $3,975.00
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $3,944.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Patrick B. Cross
Debtor 2      Cindy G. Cross                                                               Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                       $3,202.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                           Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                    $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                            $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                  $0.00


     9d. Student loans. (Copy line 6f.)                                                                                   $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                          $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +                  $0.00


     9g. Total.    Add lines 9a through 9f.                                                                               $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Patrick                  B.                   Cross
                    First Name               Middle Name          Last Name

 Debtor 2            Cindy                   G.                   Cross
 (Spouse, if filing) First Name              Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                   Check if this is an
 (if known)
                                                                                                                   amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                           12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                      Attach Bankruptcy Petition Preparer's Notice,
                                                                                                   Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Patrick B. Cross                                      X /s/ Cindy G. Cross
        Patrick B. Cross, Debtor 1                                 Cindy G. Cross, Debtor 2

        Date 08/27/2019                                            Date 08/27/2019
             MM / DD / YYYY                                             MM / DD / YYYY




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1             Patrick               B.                   Cross
                      First Name            Middle Name          Last Name

 Debtor 2            Cindy                  G.                   Cross
 (Spouse, if filing) First Name             Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                 Check if this is an
 (if known)
                                                                                                                 amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                 Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                      Debtor 1                                          Debtor 2

                                                     Sources of income         Gross income            Sources of income         Gross income
                                                     Check all that apply.     (before deductions      Check all that apply.     (before deductions
                                                                               and exclusions                                    and exclusions

From January 1 of the current year until                Wages, commissions,            $16,057.00         Wages, commissions,                  $0.00
the date you filed for bankruptcy:                      bonuses, tips                                     bonuses, tips
                                                        Operating a business                              Operating a business


For the last calendar year:                             Wages, commissions,            $35,939.00         Wages, commissions,                  $0.00
                                                        bonuses, tips                                     bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                  Operating a business                              Operating a business


For the calendar year before that:                      Wages, commissions,            $39,948.00         Wages, commissions,                  $0.00
                                                        bonuses, tips                                     bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                  Operating a business                              Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                      Debtor 1                                          Debtor 2

                                                     Sources of income          Gross income           Sources of income          Gross income
                                                     Describe below.            from each source       Describe below.            from each source
                                                                                (before deductions                                (before deductions
                                                                                and exclusions                                    and exclusions

From January 1 of the current year until             Unemployment                       $4,067.00 Social Security                         $9,208.00
the date you filed for bankruptcy:                   Retirement Withdrawal                  $0.00



For the last calendar year:                          Unemployment                       $7,900.00 Social Security                        $15,024.00
(January 1 to December 31, 2018 )                    Retirement Withdrawal             $25,526.00
                                YYYY



For the calendar year before that:                   Unemployment                       $6,105.00 Social Security                        $14,724.00
(January 1 to December 31, 2017 )                    Retirement Withdrawal                  $0.00
                                YYYY




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 2
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Debtor 1         Patrick B. Cross
Debtor 2         Cindy G. Cross                                                               Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
MCTCU                                                                            $1,458.00          $125,000.00             Mortgage
Creditor's name                                                                                                             Car
                                                              7/19
2736 Nall St.                                                                                                               Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Port Neches                         TX       77651                                                                          Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Ford Motor Credit                                                                 $447.00               $0.00               Mortgage
Creditor's name                                                                                                             Car
                                                              8/19 7/19 6/19
P.O. Box 152271                                                                                                             Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Irving                              TX       75015                                                                          Other
City                                State    ZIP Code




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                    Case number (if known)

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
       benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

  Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

           No
           Yes. Fill in the details.

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                                Describe the property                            Date             Value of the property
Gulf Credit Union                                               2011 Chevrolet                                        7/2019
Creditor's Name

5140 W. Parkway Hwy. 73
Number      Street                                              Explain what happened
                                                                   Property was repossessed.
                                                                   Property was foreclosed.
Groves                                 TX         77619            Property was garnished.
City                                   State      ZIP Code         Property was attached, seized, or levied.

                                                                Describe the property                            Date             Value of the property
Gulf Credit Union                                               2011 Ford Fiesta                                      7/2019
Creditor's Name

5140 W. Parkway Hwy. 73
Number      Street                                              Explain what happened
                                                                   Property was repossessed.
                                                                   Property was foreclosed.
Groves                                 TX         77619            Property was garnished.
City                                   State      ZIP Code         Property was attached, seized, or levied.




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 4
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Debtor 1         Patrick B. Cross
Debtor 2         Cindy G. Cross                                                                    Case number (if known)

                                                                   Describe the property                           Date              Value of the property
Kubota Credit Corp.                                                Tractor                                             7/2019
Creditor's Name

4400 Amon Carter Blvd., Ste.100
Number     Street                                                  Explain what happened
                                                                      Property was repossessed.
                                                                      Property was foreclosed.
Fort Worth                             TX         76155               Property was garnished.
City                                   State      ZIP Code            Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:         List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

Describe the property you lost and how                       Describe any insurance coverage for the loss             Date of your       Value of property
the loss occurred                                            Include the amount that insurance has paid. List pending loss               lost
                                                             insurance claims on line 33 of Schedule A/B: Property.
                                                                                                                            8/2017
Home - Windows, Front of House &
Master Bedroom, Bedroom, Bathroon -
Hurricane Harvey




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5
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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                  Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred         Date payment        Amount of
Barron & Carter, LLP                                   +Filing fees and credit counseling fees                   or transfer was     payment
Person Who Was Paid                                                                                              made

P.O. Box 1347                                                                                                       08/18/2019          $1,800.00
Number      Street




Nederland                     TX       77627
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6
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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                               Case number (if known)

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

           No
           Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7
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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                  Case number (if known)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Patrick B. Cross                                       X /s/ Cindy G. Cross
   Patrick B. Cross, Debtor 1                                    Cindy G. Cross, Debtor 2

   Date        08/27/2019                                        Date      08/27/2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                              Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                     Declaration, and Signature (Official Form 119).




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8
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 Fill in this information to identify your case:
 Debtor 1              Patrick              B.                    Cross
                       First Name           Middle Name           Last Name

 Debtor 2            Cindy                  G.                    Cross
 (Spouse, if filing) First Name             Middle Name           Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        Ford Motor Credit                                     Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2018 Ford Escape                                      Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        MCTCU                                                 Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2107 7th St.. Port Neches, TX 77651                   Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
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Debtor 1     Patrick B. Cross
Debtor 2     Cindy G. Cross                                                              Case number (if known)

 Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                              Will this lease be assumed?

    Lessor's name:        Ford Motor Credit                                                                           No
    Description of leased 2018 Ford Escape                                                                            Yes
    property:



 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Patrick B. Cross                                  X /s/ Cindy G. Cross
   Patrick B. Cross, Debtor 1                                Cindy G. Cross, Debtor 2

   Date 08/27/2019                                           Date 08/27/2019
        MM / DD / YYYY                                            MM / DD / YYYY




Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                                    page 2
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                      Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                                     $245     filing fee
                                                                              $75     administrative fee
     Your debts are primarily consumer debts.                         +       $15     trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                             $335     total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                      Chapter 7 is for individuals who have financial difficulty
                                                                      preventing them from paying their debts and who are
                                                                      willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                            pay their creditors. The primary purpose of filing under
to individuals                                                        chapter 7 is to have your debts discharged. The
                                                                      bankruptcy discharge relieves you after bankruptcy from
                                                                      having to pay many of your pre-bankruptcy debts.
                                                                      Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                      property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                      example, a creditor may have the right to foreclose a
                                                                      home mortgage or repossess an automobile.
    Chapter 7 -- Liquidation
                                                                      However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                      certain kinds of improper conduct described in the
                                                                      Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                                You should know that the even if you file chapter 7 and
                                                                      you receive a discharge, some debts are not discharged
                                                                      under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                      pay:
                  individuals with regular income
                                                                           most taxes;
You should have an attorney review your                                    most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                                domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                    page 1
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    most fines, penalties, forfeitures, and criminal                   for your state of residence and family size, depending
    restitution obligations; and                                       on the results of the Means Test, the U.S. trustee,
                                                                       bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy               dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                            Code. If a motion is filed, the court will decide if your
                                                                       case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:                    choose to proceed under another chapter of the
                                                                       Bankruptcy Code.
    fraud or theft;
                                                                       If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                       trustee may sell your property to pay your debts, subject
    capacity;
                                                                       to your right to exempt the property or a portion of the
                                                                       proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                       and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor               trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from                called exempt property. Exemptions may enable you to
    alcohol or drugs.                                                  keep your home, a car, clothing, and household items or
                                                                       to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have                  Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You                 must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly                  Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing          property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine               proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                       Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                         $1,167     filing fee
122A-2).                                                                      $550     administrative fee
                                                                       +
If your income is above the median for your state, you must                 $1,717     total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--                 Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your                     is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to                11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                      page 2
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        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                        Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                           repay your creditors all or part of the money that you owe
            or fishermen                                                them, usually using your future earnings. If the court
                                                                        approves your plan, the court will allow you to repay your
                                                                        debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                               depending on your income and other factors.
+        $75   administrative fee
                                                                        After you make all the payments under your plan, many
        $275   total fee
                                                                        of your debts are discharged. The debts that are not
                                                                        discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                        include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                                domestic support obligations,
                                                                             most student loans,
                                                                             certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                                   debts for fraud or theft,
                                                                             debts for fraud or defalcation while acting in a
                                                                             fiduciary capacity,
          $235     filing fee
    +      $75     administrative fee
                                                                             most criminal fines and restitution obligations,
          $310     total fee
                                                                             certain debts that are not listed in your bankruptcy
                                                                             papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                             certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                             injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                             certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                         page 3
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                                                                      A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                                    called a joint case. If you file a joint case and each
                                                                      spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires                   bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about                   mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses               unless you file a statement with the court asking that
  and general financial condition. The court may                      each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                                 Understand which services you could
                                                                      receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                      The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms                    counseling briefing from an approved credit counseling
  .html#procedure.                                                    agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                      case, both spouses must receive the briefing. With
                                                                      limited exceptions, you must receive it within the 180
                                                                      days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                        briefing is usually conducted by telephone or on the
consequences                                                          Internet.

    If you knowingly and fraudulently conceal assets or               In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of                   must complete a financial management instructional
    perjury--either orally or in writing--in connection with          course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or               filing a joint case, both spouses must complete the
    both.                                                             course.

                                                                      You can obtain the list of agencies approved to provide
    All information you supply in connection with a                   both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department                In Alabama and North Carolina, go to:
    of Justice.                                                       http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                      ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                               If you do not have access to a computer, the clerk of the
                                                                      bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                    page 4
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                                         UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF TEXAS
                                                BEAUMONT DIVISION
  IN RE:   Patrick B. Cross                                                               CASE NO
           Cindy G. Cross
                                                                                        CHAPTER     7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 8/27/2019                                               Signature    /s/ Patrick B. Cross
                                                                         Patrick B. Cross



Date 8/27/2019                                               Signature    /s/ Cindy G. Cross
                                                                         Cindy G. Cross
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 Debtor(s): Patrick B. Cross                            Case No:                                                      EASTERN DISTRICT OF TEXAS
            Cindy G. Cross                               Chapter: 7                                                          BEAUMONT DIVISION


Acadian Ambulance                                   Ford Motor Credit                                  Pay Pal
130 E. Kaliste Rd.                                  P.O. Box 152271                                    P.O. Box 71202
Lafayette, LA 70509                                 Irving, TX 75015                                   Charlotte, NC 28272



Capital One                                         Gulf Credit Union                                  Port Arthur Emer. Physicians
P.O. Box 60599                                      5140 W. Parkway Hwy. 73                            P.O. Box 731584
City of Industry, CA 91716-0599                     Groves, TX 77619                                   Dallas, TX 75373



Chevron                                             Home Depot                                         Roussel Clement, MD
P.O. Box 530950                                     P.O. Box 78011                                     6265 39th St.
Atlanta, GA 30353                                   Phoenix, AZ 85062                                  Groves, TX 77619



Christus Health                                     Internal Revenue Service          Sam's
P.O. Box 650576                                     Centralized Insolvency Operations P.O. Box 530942
Dallas, TX 75265                                    P.O. Box 7346                     Atlanta, GA 30353
                                                    Philadelphia, PA 19101-7346


Christus Health of SETX                             Kohl's                                             SETX Inpatient Phys. Assoc.
P.O. Box 848061                                     P.O. Box 30510                                     3318 Hwy. 365
Dallas, TX 75284-8061                               Los Angeles, CA 90030-0510                         P.O.Box 227
                                                                                                       Nederland, TX 77627


Christus Hospital                                   Kubota Credit Corp.                                Shell
c/o TLRA                                            4400 Amon Carter Blvd., Ste.100                    Processing Center
P.O. Box 650576                                     Fort Worth, TX 76155                               Des Moines, IA 50367
Dallas, TX 75265


Citgo                                               Liberty Medical, LLC                               Target
Processing Center                                   8881 South US Hwy. 1                               P.O. Box 660170
Des Moines, IA 50362                                Port Saint Lucie, FL 34952                         Dallas, TX 75266-0170



Citi Card                                           Lowe's                                             The Medical Center
POB 6004                                            P.O. Box 965005                                    P.O. Box 27434
The Lakes, NV 89163                                 Orlando, FL 32896                                  Salt Lake City, UT 84127



Dillards                                            MCT Credit Union                                   United States Attorney's Office
P.O. Box 660553                                     P.O. Box 279                                       350 Magnolia Ave., Ste 150
Dallas, TX 75266                                    Port Neches, TX 77651                              Beaumont, TX 77701-2248



Exxon Mobil                                         MCTCU                                              United States Trustee's Office
Processing Center                                   2736 Nall St.                                      110 North College Ave., Ste 300
Des Moines, IA 50361                                Port Neches, TX 77651                              Tyler, Texas 75702-7231
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 Debtor(s): Patrick B. Cross                            Case No:                                                      EASTERN DISTRICT OF TEXAS
            Cindy G. Cross                               Chapter: 7                                                          BEAUMONT DIVISION


Valero
P.O. Box 631
Amarillo, TX 79105
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                                                 UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF TEXAS
                                                        BEAUMONT DIVISION
  IN RE: Patrick B. Cross                                                                        CASE NO
         Cindy G. Cross
                                                                                                CHAPTER         7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                         Scheme Selected: State
                                                                Gross                Total              Total         Total Amount    Total Amount
No.     Category                                        Property Value       Encumbrances              Equity               Exempt     Non-Exempt


1.      Real property                                    $180,108.00            $125,000.00       $55,108.00           $55,000.00         $108.00

3.      Motor vehicles (cars, etc.)                            $1.00                  $0.00            $1.00                $1.00            $0.00

4.      Water/Aircraft, Motor Homes,                         $200.00                  $0.00          $200.00                $0.00         $200.00
        Rec. veh. and access.

6.      Household goods and furnishings                    $1,800.00                  $0.00        $1,800.00            $1,800.00            $0.00

7.      Electronics                                            $0.00                  $0.00            $0.00                $0.00            $0.00

8.      Collectibles of value                                  $0.00                  $0.00            $0.00                $0.00            $0.00

9.      Equipment for sports and hobbies                       $0.00                  $0.00            $0.00                $0.00            $0.00

10.     Firearms                                               $0.00                  $0.00            $0.00                $0.00            $0.00

11.     Clothes                                              $500.00                  $0.00          $500.00              $500.00            $0.00

12.     Jewelry                                              $200.00                  $0.00          $200.00              $200.00            $0.00

13.     Non-farm animals                                      $36.00                  $0.00           $36.00               $36.00            $0.00

14.     Unlisted pers. and household items-                    $0.00                  $0.00            $0.00                $0.00            $0.00
        incl. health aids

16.     Cash                                                  $25.00                  $0.00           $25.00                $0.00          $25.00

17.     Deposits of money                                    $553.00                  $0.00          $553.00                $0.00         $553.00

18.     Bonds, mutual funds or publicly                        $0.00                  $0.00            $0.00                $0.00            $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00                  $0.00            $0.00                $0.00            $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00                  $0.00            $0.00                $0.00            $0.00
        instruments

21.     Retirement or pension accounts                         $0.00                  $0.00            $0.00                $0.00            $0.00

22.     Security deposits and prepayments                      $0.00                  $0.00            $0.00                $0.00            $0.00

23.     Annuities                                              $0.00                  $0.00            $0.00                $0.00            $0.00

24.     Interests in an education IRA                          $0.00                  $0.00            $0.00                $0.00            $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00                  $0.00            $0.00                $0.00            $0.00

26.     Patents, copyrights, and other                         $0.00                  $0.00            $0.00                $0.00            $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00                  $0.00            $0.00                $0.00            $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00                  $0.00            $0.00                $0.00            $0.00
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                                               UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF TEXAS
                                                      BEAUMONT DIVISION
  IN RE: Patrick B. Cross                                                                     CASE NO
         Cindy G. Cross
                                                                                             CHAPTER         7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                      Scheme Selected: State
                                                           Gross                   Total             Total         Total Amount    Total Amount
No.     Category                                   Property Value          Encumbrances             Equity               Exempt     Non-Exempt


29.     Family support                                      $0.00                   $0.00           $0.00                $0.00            $0.00

30.     Other amounts someone owes you                      $0.00                   $0.00           $0.00                $0.00            $0.00

31.     Interests in insurance policies                     $0.00                   $0.00           $0.00                $0.00            $0.00

32.     Any int. in prop. due you from                      $0.00                   $0.00           $0.00                $0.00            $0.00
        someone who has died

33.     Claims vs. third parties, even                      $0.00                   $0.00           $0.00                $0.00            $0.00
        if no demand

34.     Other contin. and unliq. claims                     $0.00                   $0.00           $0.00                $0.00            $0.00
        of every nature

35.     Any financial assets you did                        $0.00                   $0.00           $0.00                $0.00            $0.00
        not already list

38.     Accounts rec. or commissions you                    $0.00                   $0.00           $0.00                $0.00            $0.00
        already earned

39.     Office equipment, furnishings,                      $0.00                   $0.00           $0.00                $0.00            $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                  $0.00                   $0.00           $0.00                $0.00            $0.00
        tools of trade

41.     Inventory                                           $0.00                   $0.00           $0.00                $0.00            $0.00

42.     Interests in partnerships or                        $0.00                   $0.00           $0.00                $0.00            $0.00
        joint ventures

43.     Customer and mailing lists, or                      $0.00                   $0.00           $0.00                $0.00            $0.00
        other compilations

44.     Any business-related property not                   $0.00                   $0.00           $0.00                $0.00            $0.00
        already listed

47.     Farm animals                                        $0.00                   $0.00           $0.00                $0.00            $0.00

48.     Crops--either growing or harvested                  $0.00                   $0.00           $0.00                $0.00            $0.00

49.     Farm/fishing equip., impl., mach.,                  $0.00                   $0.00           $0.00                $0.00            $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,               $0.00                   $0.00           $0.00                $0.00            $0.00
        and feed

51.     Farm/commercial fishing-related prop.               $0.00                   $0.00           $0.00                $0.00            $0.00
        not listed

53.     Any other property of any kind not                  $0.00                   $0.00           $0.00                $0.00            $0.00
        already listed

                    TOTALS:                          $183,423.00              $125,000.00      $58,423.00           $57,537.00         $886.00
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                                              UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF TEXAS
                                                     BEAUMONT DIVISION
  IN RE: Patrick B. Cross                                                                       CASE NO
         Cindy G. Cross
                                                                                               CHAPTER       7

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                      Market Value                    Lien              Equity

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                                         $0.00                    $0.00                 $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                  Market Value               Lien           Equity        Non-Exempt Amount

Real Property

1059094 42.0420 Vidor Ames Field, Orange County, TX - Minera                  $108.00                            $108.00                    $108.00

Personal Property

10 x 6 Trailer                                                                $200.00                            $200.00                    $200.00

Cash on hand                                                                    $25.00                            $25.00                     $25.00

Neches Federal Credit Union - Checking & Savings                              $548.00                            $548.00                    $548.00

MCT Credit Union                                                                 $5.00                             $5.00                      $5.00


                   TOTALS:                                                     $886.00            $0.00           $886.00                   $886.00
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                                         UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF TEXAS
                                                BEAUMONT DIVISION
IN RE: Patrick B. Cross                                                                  CASE NO
       Cindy G. Cross
                                                                                        CHAPTER      7

                       SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                           Continuation Sheet # 3




                                                            Summary
        A. Gross Property Value (not including surrendered property)                                        $183,423.00

        B. Gross Property Value of Surrendered Property                                                            $0.00

        C. Total Gross Property Value (A+B)                                                                 $183,423.00

        D. Gross Amount of Encumbrances (not including surrendered property)                                $125,000.00

        E. Gross Amount of Encumbrances on Surrendered Property                                                    $0.00

        F. Total Gross Encumbrances (D+E)                                                                   $125,000.00

        G. Total Equity (not including surrendered property) / (A-D)                                          $58,423.00

        H. Total Equity in surrendered items (B-E)                                                                 $0.00

        I. Total Equity (C-F)                                                                                 $58,423.00

        J. Total Exemptions Claimed                                                                           $57,537.00

        K. Total Non-Exempt Property Remaining (G-J)                                                            $886.00
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Patrick                B.                   Cross
                    First Name             Middle Name          Last Name                      1. There is no presumption of abuse.

 Debtor 2            Cindy                 G.                   Cross                          2. The calculation to determine if a presumption
 (Spouse, if filing) First Name            Middle Name          Last Name                         of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                      $2,676.17                 $0.00
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00               $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00               $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                            page 1
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Debtor 1        Patrick B. Cross
Debtor 2        Cindy G. Cross                                                                                                      Case number (if known)

                                                                                                                                         Column A        Column B
                                                                                                                                         Debtor 1        Debtor 2 or
                                                                                                                                                         non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00                          $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                   $0.00                          $0.00 here                             $0.00            $0.00
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00                          $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                     $0.00                          $0.00 here                             $0.00            $0.00
     other real property

7.   Interest, dividends, and royalties                                                                                                          $0.00            $0.00
8.   Unemployment compensation                                                                                                                 $525.83            $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                              $0.00
         For you............................................................................................................................

                                                                                                         $0.00
         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                                       $0.00            $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                      +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                $3,202.00     +        $0.00   =      $3,202.00
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                             Total current
                                                                                                                                                                             monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                   page 2
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Debtor 1       Patrick B. Cross
Debtor 2       Cindy G. Cross                                                                                     Case number (if known)

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.                                                                                                                                                                       $3,202.00
            Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                             X       12

    12b.    The result is your annual income for this part of the form.                                                                                         12b.         $38,424.00

13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                               Texas

    Fill in the number of people in your household.                                        2

                                                                                                                                                                       $65,429.00
    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Patrick B. Cross                                                                     X    /s/ Cindy G. Cross
           Patrick B. Cross, Debtor 1                                                                    Cindy G. Cross, Debtor 2

           Date 8/27/2019                                                                                Date 8/27/2019
                MM / DD / YYYY                                                                                MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                                           page 3
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                                      Current Monthly Income Calculation Details
In re: Patrick B. Cross                                                   Case Number:
       Cindy G. Cross                                                     Chapter:     7

2.    Gross wages, salary, tips, bonuses, overtime and commissions.

 Debtor or Spouse's Income                 Description (if available)
                                                6              5             4             3            2             Last           Avg.
                                              Months         Months        Months        Months       Months         Month            Per
                                               Ago            Ago           Ago           Ago          Ago                           Month

Debtor                                     wages
                                             $2,676.17       $2,676.17      $2,676.17    $2,676.17    $2,676.17      $2,676.17       $2,676.17

8.    Unemployment compensation.

 Debtor or Spouse's Income                 Description (if available)
                                                6              5             4             3            2             Last           Avg.
                                              Months         Months        Months        Months       Months         Month            Per
                                               Ago            Ago           Ago           Ago          Ago                           Month

Debtor                                     Unemployment
                                                $0.00             $0.00         $0.00    $2,243.00         $912.00           $0.00    $525.83




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